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Adversary Proceeding Cover Sheet

B104 (FORM 104) (08/07)

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ADVERSARY PROCEEDING COVER SHEET

(instructions on Reverse)

ADVERSARY PROCEEDING NUMBER
(Court Use Only)

PLAINTIFFS
Merrick Bank Corporation

DEFENDANTS

Joseph Baldiga, as Trustee of the Estate of
Southern Sky & Alr Tours, LLC d/b/a Direct Air

ATTORNEYS (Firm Name, Address, and Telephone No.)
David J. Reier, Esq., BBO # 546202

Posternak Biankstein & Lund LLP, Prudential Tower,
800 Boylston St., Boston, MA 02199, (617) 973-6100

Jason A NBateigg ESatow”

Mirick O'Connell
1800 West Park Drive, Suite 400, Westboro, MA 01581

PARTY (Check One Box Only)

3 Debtor co U.S. Trustee/Bankrupicy Admin
ty Creditor co Other
ci Trustee

PARTY (Check One Box Only)

t) Debtor ol U.S. Trustee/Bankruptcy Admin
oo Creditor cl) Other
XTrustee

CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Declaration that prosecution by plaintiff of claims belonging to plaintiff against Valley National Bank does not violate the

automatic stay.

NATURE OF SUIT

(Number up to five (5) boxes starting with lead cause of action as |, first alternative cause as 2, second alternative cause as 3, etc.)

FRBP 7001(1) — Recovery of Money/Property
C] 11-Recovery of money/property - §542 turnover of property
Cl 12-Recovery of money/property - §547 preference
CI 13-Recovery of money/property - §548 fraudulent transfer
CI 14-Recovery of money/property - other

FRBP 7001(2) — Validity, Priority or Extent of Lien
21-Validity, priority or extent of licn or other interest in property

FRBP 7001(3) ~ Approval of Sale of Property
31-Approval of sale of property of estate and of a co-owner - §363(h)

FRBP 7001(4) — Objection/Revocation of Discharge
41-Objection / revocation of discharge - §727(c),(d),(c)

FRBP 7001(5) — Revocation of Confirmation
51-Revacation of confirmation

FRBP 7001(6) — Dischargeability
J 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
C 62-Dischargceability - §523(a)(2), false pretenses, false representation,
actual fraud
C] 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny

(continued next columm)

FRBP 7001(6) ~ Dischargeability (continued)
61-Dischargeability - §523(a)(5), domestic support
C] 68-Dischargeability - §523(a)(6), willful and malicious mjury
CJ 63-Dischargeability - §523(a)(8), student loan
C] 64-Dischargeability - §523(a)(15), divorce or separation obligation
(other than domestic support)
CJ 65-Dischargeability - other

FRBP 7001(7) ~ Injunctive Relief
71-Injunctive relief ~ imposition of stay
C] 72-Injunctive relief ~ other

FRBP 7001(8) Subordination of Claim or Interest
81-Subordination of claim or interest

FRBP 7001(9) Declaratory Judgment
91-Declaratory judgment

FRBP 7001010) Determination of Removed Action
01-Determination of removed claim or cause

Other
[_] sS-SIPA Case ~ 15 U.S.C. §§78aaa et.seq.
C] 02-Other (e.g. other actions that would have been brought in state court

if unrelated to bankruptcy case)

co Check if this case involves a substantive issue of state law

3 Check if this is asserted to be a class action under FRCP 23

o Check if a jury trial is demanded in complaint

Demand $

Other Relief Sought

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BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR BANKRUPTCY CASENO. 12-40944-MSH

Southern Sky Air & Tours LLC d/b/a Direct Air

DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME. OF i GE
Massachusetts Central elvin Hoffman

RELATED ADVERSARY PROCEEDING (If ANY)
PLAINTIFF DEFENDANT ADVERSARY
PROCEEDING NO.
DISTRICT IN WHICH ADVERSARY IS PENDING DIVISION OFFICE NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)

DATE — PRINT NAME OF ATTORNEY (OR PLAINTIFF)
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INSTRUCTIONS

The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case
Filing system (CM/ECF),. (CM/ECF captures the information on Form 104 as part of the filing process.) When completed,
the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the information to
process the adversary proceeding and prepare required statistical reports on court activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party, Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the

plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
attorney, the plaintiff must sign.

